                           UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                  Howard H. Baker Jr. United States Courthouse
                                         800 Market Street, Suite 130
                                         Knoxville, Tennessee 37902
                                               (865) 545-4228
                                              www.tned.uscourts.gov
    LEANNA R. WILSON                                                             CHRISTOPHER FIELD
    Clerk of Court                                                                   Chief Deputy Clerk



                                             October 15, 2021

   James M. Hivner, Clerk
   Tennessee Supreme Court
   401 Seventh Avenue North
   Nashville, TN 37219-1407

   RE: Greg Adkisson, et al., v. Jacobs Engineering Group, Inc. – 3:13-CV-505

   To Whom It May Concern:

   The above styled case has been sent to your court for certification pursuant to an Order of this
   Court signed by United States District Judge Thomas A. Varlan on September 29, 2021.
   Enclosed please find a certified copy of the Order. Please date stamp the enclosed copy of this
   letter and return it in the envelope provided.

                                                   Sincerely,

                                                   LeAnna R. Wilson, Clerk


                                                   By:
                                                    y: __________________________
                                                        __________________________
                                                                                ___
                                                                                __
                                                   Deputy
                                                    eput
                                                       uutty Clerk

   /kmk
   Enclosures




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